
Stewart, C. J.
The question presented by this record is whether a defendant, not a resident of the county in which a suit is brought to enjoin the collection of a judgment obtained by fraud, may be served with process in the county of his residence, and held to answer in such suit if the sheriff of the county in which the suit is brought, holding an execution issued on said judgment, is made a party; said judgment having been obtained by confession upon a warrant of attorney in a county other than that in which the suit is brought, and that in which the judgment creditor resides.
The rule of the code is that, except in certain specified cases, every action must be brought in the county in which the defendant resides or may be summoned. Revised Statutes, sec. 5031. This is subject to the qualification that when an action is rightly brought in any county in accordance with the provisions of chapter five of title one, division two of part third of the Revised Statutes, a summons may be issued to any other county against one or more of the defendants at the plaintiff’s request. Revised Statutes, sec. 5038.
This privilege of requiring parties to answer to a suit in a county other than that in which they live or may be served, is only given where a suit is rightly brought in the county from which the process issues, and our Supreme Court has in several cases construed this section.
“In order to give the court.of common pleas jurisdiction *617in an action against a defendant resident and served with process in another county than that in which the suit is brought, under the 53d and 58th sections of the code (now sections 5031 and 5038), the other defendant or defendants resident or served with process in the county in which the suit is brought must have a real and substantial interest in the subject of the action adverse to the .plaintiff, and against whom substantial relief is sought.” Allen v. Miller, 11 Ohio St. 374; Thompson v. Massie, 41 Ohio St. 317.
“It is not within the power of a plaintiff to compel parties residing out of the county where suit is brought, to answer out of their own county, by uniting with them a mere nominal party, or one not rightly joined with them as a defendant.” Per Johnson, J., in Drea v. Carrington, 32 Ohio St. 603. From these decisions it is clear that, uuless the sheriff of Miami county had a real and substantial interest in the subject of the action, adverse to the plaintiff'below, and was rightly joined as a defendant with the plaintiff in error, jurisdiction over the plaintiff in error could not have been obtained by the service of a summons upon him in Crawford county. The sheriff of Miami county is bound to execute all process placed in his hands, and has no more interest in any particular case than the clerk who issues the writ. He is an officer of the daw fulfilling his duty, and he is neither a proper nor a necessary party in a suit brought to enjoin the enforcement of a judgment by sale or otherwise, by virtue of an execution|in his hands. Olin v. Hungerford, 10 Ohio, 268; Allen v. Medill, 14 Ohio, 445.
The doctrine laid down in these two cases has never been doubted in this state, and upon principle it is right. An injunction against the creditor’s enforcing the judgment is the relief sought, and such injunction would through him bind all the officers of the law who might be called on’to assist in the collection of the judgment; but he is not bound by an injunction against the sheriff, from issuing another execution or taking other means to collect his judgment, and such injunc*618tion does not and cannot give to the judgment debtor the relief he prays for in his petition. To hold otherwise would permit a plaintiff to compel a non-resident defendant to answer in a suit by making one who was an improper party a defendant in the suit. The last of these decisions was announced in 1846, and in 1859 the legislature enacted (2 S. &amp; C. 1172), what is now Revised Statutes, section 5015, providing that when the judgment creditor “is a non-resident of the state, or has left the same to avoid the service of summons or order of injunction, or so conceals himself that process cannot be served upon him,” an officer holding an execution may be joined with such judgment creditor in an action to restrain the collection of the judgment, and service may be made on the creditor by publication. Certainly the legislature was aware at the time of the passage of this act of the decisions above quoted, and therefore deemed it necessary to provide specially that in certain cases the officer might be joined. Expressio unías, exolusió alterius. Another question would arise if any claim was made that the sheriff was acting in collusion with the judgment creditor.
In the case of Darst v. Phillips, (41 Ohio St. 514), the only question involved was, whether the remedy afforded by Revised Statutes, section 5354, was exclusive or cumulative; no question of the jurisdiction of the person was involved or decided. Indeed it appears from the brief of counsel for the defendant in error that the judgment creditor resided in the county in which the suit was brought.
It is claimed in argument that the plaintiff in error waived the defect in the service of the summons by filing an answer. We do not see how he could have raised the question of jurisdiction in any other way. The record undoubtedly showed that the plaintiff in error was served in Crawford county, but that did not appear upon the face of the petition, and it was therefore proper to raise the question by answer. Drea v. Carrington, supra.
The voluntary appearance of the defendant for the sole purpose of objecting to the mode or manner of service is not equiv*619alent to service within the rule laid down in Revised Statutes, section 5043. Fer McIlvaine, J., Handy v. Ins. Co., 37 Ohio St. 369. He was right in his claim that the sheriff was improperly joined with him in the action, and while such a plea was perhaps unnecessary, it was not a plea to the merits, and therefore did not constitute a waiver of service of summons.
It is also suggested in argument, although not brought into the record by any pleading in the case, that there is a defect of parties in that the sheriff of Miami county ought to be joined either as plaintiff or defendant in error, as the judgment in the court below was against the plaintiff in error and T. A. Ashworth, as sheriff’.
In the present state of the decisions of the Supreme Court as to what proper practice and the statute requires as to making parties in proceedings in error, it is difficult to follow them to any certain result. But on general principles it seems to us that it must be apparent that there can be no necessity for joining, in a proceeding in error, one who was an unnecessary and improper party in the court below.
It is settled in this state that sec. 5062, Rev. Stat., which provides that a defect of parties plaintiff or defendant is a ground of demurrer, and sec. 5064, which provides that where no objection, either by demurrer or answer, is taken upon that ground the same shall be deemed waived, apply by analogy to proceedings in error. Ins. Co. v. Goodin, 10 Ohio St. 557; Cairnes v. Knight, Ex’r, 17 Ohio St. 68; Bank v. Green, 40 Ohio St. 431; Waugerien v. Aspell, 47 Ohio St. 250.
Certainly no court would be so unmindful of its duties as to allow a wrong judgment to stand for such a technical defect as here urged, unless the point was made in the manner prescribed by law. The only parties in interest are before the court, and if the sheriff ought to have been joined, it is by reason of the merest technicality.
A further claim is made that this case falls within the purview of Revised Statutes, sections 5022, 5038 and 5779, be*620cause the plaintiff below alleged that the enforcement of the execution in the hands of the sheriff would result in a sale of his real estate, and thereby cast a cloud on his title. This, it is claimed, makes out a case for the quieting of his title to real estate situated in Miami county, and is therefore rightly brought in that county.
O. W. Aldrich and J. W. Coulter, for plaintiff.
Byrkett &amp; Gilbert, for defendant.
No such relief is sought by any of the allegations of the petition below, and certainly no such relief could be granted, even°under the liberal rules in regard to pleading under the Code, where the plaintiff does not allege that he is in possession and does not give any pertinent or definite description of his land upon which such a decree could operate. But a careful examination and analysis of his petition clearly shows that he does not.ask any relief, except an injunction against the enforcement of the judgment described in his petition.
The judgment of the court of common pleas will be reversed, the demurrer overruled, and this court proceeding to render the judgment the court below ought to have rendered, the action will be dismissed at the costs of the defendant in error.
